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       AUc 2 g   [,J$N[              UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF ILLINOIS
  THOMAS G. BRUI'ON                        EASTERN DIVISION
CLERK, U.S. DISTRICT COI.JRT


         UNITED STATES OF AMERICA                          N.     tgCR                      6 g2
                                v.                         Violations: Title 18, United States Code,
                                                           Sections 371, 1952(a)(3), 2421(a), and
         JESSICA NESBITT,                                  2422(a), and Title 31, United States
           also known as "Madame Priscilla Belle"          Code, Section 532a(a)(3)

                                                           UNDER SEAL
                                                                                 JU DGE DOW

                                               COUNT ONE                  II{AGTSTRnTE JUDGE VALDEZ

               The SPECIAL JULY 2018 GRAND JURY charges:

               1.     At times relevant to this indictment:

                                     Relevant Entities and Individuals

                      a.       Selective Management Enterprises, Inc., which also did business

        as Kink Extraordinaires ("KE"), was an lllinois corporation located        at   2452 West

        Augusta Boulevard, Chicago, Illinois.

                      b.       Defendant JESSICA NESBITT owned and operated KE.

                      c.       NESBITT controlled bank accounts at Associated Bank and Fifth

        Third Bank in Chicago (the "NESBITT bank accounts").

                      d.       Individua1 A, Individual B, Individual C, Individual D, Individual

        E, Individual F, and others (the "KE employees") were employees of KE.

                      e.       Client A, Client B, Client C, Client D, and others were clients of

        KE.
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             f.     Gmail was an email service developed and operated by Google.

Emails sent and received via a user's Gmail account were routed through Google

servers, which were located outside the State of Illinois.

             g.     Company 1 was an electronic payment processor that allowed

merchants to accept credit, debit, and gift card payments by swiping or otherwise

charging those cards through point-of-sale terminals. Those payments were

processed through Company 1's electronic payment network, including Company         l's
servers located   in   Chandler, Arizona, and later deposited into bank accounts

designated by each merchant.

             h.     Company 2 was an electronic payment processor that allowed

merchants to accept credit, debit, and gift card payments by swiping or otherwise

charging those cards through point-of-sale terminals. Those payments were

processed through Company 2's electronic payment network, including Company 2's

servers located   in Florence, Kentucky and Grand Rapids, Michigan, and later
deposited into bank accounts designated by each merchant.

             r.     Fifth Third Bank was a domestic financial institution subject to

the Currency Transaction Reporting requirements described in subparagraph (k)

below.

                         State Law: Prostitution Offenses
             j.     There were   in force and effect criminal statutes of the State of
California, the District of Columbia, the State of Florida, the State of Illinois, the

State of Indiana, the State of Nevada, the State of Wisconsin, and elsewhere that
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prohibited prostitution offenses, including California Penal Code Section 647b)

(soliciting and engaging in prostitution); District of Columbia Code Section 22-2701

(engaging   in prostitution and soliciting for prostitution); Florida Statutes          796.07

(prostitution and related acts); Chapter 720, Illinois Compiled Statutes,

Sections SllI-14 (prostitution) and 5111-L4.3 (promoting prostitution); Indiana Code

Sections 35-45-4-2 (prostitution) and 35-45-4-4 (promoting prostitution); Nevada

Revised Statutes 201.354 (engaging in prostitution and solicitation for prostitution);

and Wisconsin Statutes Annot ated I 44.30 (prostitution).

                  Federal Law: Currencv Transaction Reporting

             k.           Title 31, United States Code, Section 5313(a) and Title 31, Code

of Federal Regulations, Section 1010.310-313 required domestic financial           institutions

to prepare and file with the Financial Crimes Enforcement Network a Currency

Transaction Report (Form 104) for any transaction or series of transactions involving

currency of more than $10,000.

      2.     Beginning in or around September 2010, and continuing until on or

about January     1.1.,   2017,   at   Chicago,   in the Northern District of Illinois, Eastern
Division, and elsewhere,

                                     JESSICA NESBITT,
                            also known as "Madame Priscilla Belle,"

defendant herein, did knowingly conspire with others known and unknown to the

Grand Jury to commit an offense against the United States, that is:

             a.       to travel and cause to travel in interstate commerce, and to use

and caused to be used a facility in interstate commerce, with intent to promote,
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manage, establish, carry         or, and facilitate the          promotion, management,

establishment, and carrying on of an unlawful activity, namely, prostitution offenses

in violation of Cal. Penal Code   S   647(b), D.C. Code S 22-2701, FIa. Stat. S 796.07,720

ILCS   SS   5/11-14 and 5/11-14.3, Ind. Code   SS   35-45-4-2 and 35-45-4-4. N.R.S. 207.354,

and W.S.A.944.30, and thereafter to perform an act to carry on and facilitate the

promotion and carrying on of said unlawful activity, in violation of Title 18, United

States Code, Section 1952(a)(3);

                b.    to knowingly transport an individual in interstate commerce with

intent that such individual engage in prostitution, in violation of Title 18, United

States Code, Section 2421(a); and

                c.    to knowingly persuade, induce, and entice an individual to travel

in interstate    commerce to engage     in prostitution, in violation of Title 18, United
States Code, Section 2422(a).

       3.       It was part of the conspiracy that NESBITT          and the KE employees

agreed   to promote prostitution and perform acts of prostitution, and cause the
promotion of prostitution and the performance of acts of prostitution, at KE and at

other locations outside of Illinois, including but not limited to California, the District

of Columbia, Florida, Indiana, Nevada, and Wisconsin, through travel in interstate

commerce, the use of a facility       in interstate commerce, the transportation of KE
employees     in interstate commerce with the intent that those employees engage in
prostitution, and the persuading, inducing, and enticing of KE employees to travel in

interstate commerce to engage in prostitution.
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       4.     It   was further part of the conspiracy that NESBITT employed, and

caused to be employed, the KE employees at KE in part for the purpose of performing

acts of prostitution with KE clients.

       5.     It was further part   of the conspiracy   that NESBITT created, and caused

to be created, Google Gmail email accounts for herself and the KE employees, and

NESBITT used, and caused to be used, the Gmail email accounts to promote the

business of KE, including by using the accounts to communicate with clients and KE

employees, and to operate KE.

       6.    It    was further part of the conspiracy that NESBITT advertised, and

caused   to be advertised, services offered by KE and its          employees on multiple

websites, including on backpage.com, eros.com, and Gentlemen's Pages. NESBITT

also operated, and caused to be operated, the website kinkextraordinaires.com for the

purposes of advertising services offered by NESBITT and the KE employees.

       7.    It    was further part of the conspiracy that NESBITT transported,
persuaded, induced, and enticed, and caused to be transported, persuaded, induced,

and enticed, KE employees to travel outside the State of Illinois, including to San

Diego, California; Washington, D.C.; Miami, Florida; Indiana; and Las Vegas,

Nevada, to engage in acts of prostitution with KE clients, including by arranging

travel for KE employees and paying KE employees to participate in the acts of
prostitution performed at locations outside the State of Illinois.

      8.     It was further part    of the conspiracy   that NESBITT traveled outside the

State of lllinois, including to Miami, Florida; Las Vegas, Nevada; and Wisconsin, to




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engage in acts of prostitution with KE clients.

       9.    It was further part of the conspiracy that NESBITT         performed, and

caused KE employees to perform, acts of prostitution      with KE clients at locations
within and outside of Illinois. NESBITT and the KE employees accepted payments

totaling millions of dollars in the form of cash or credit, debit, and gift cards from KE

clients for sexual services performed.

       10. It was further part of the conspiracy      that, in order to process credit,

debit, and gift card payments made by clients, NESBITT used, and caused to be used,

credit card terminals maintained at KE, which caused the transmission of wire

communications between Chicago, Illinois and locations outside of Illinois, including

Chandler, Arrzona; Florence, Kentucky; and Grand Rapids, Michigan. The use of

these credit card terminals resulted in the transfer of funds to the NESBITT bank

accounts.

      11. It was further part of the conspiracy that NESBITT deposited, and
caused to be deposited, cash payments from KE clients into the NESBITT bank

accounts in amounts under $10,000, in order to evade currency transaction reporting

requirements and to conceal the existence and purpose of the conspiracy.

      12. It was further part of the conspiracy that NESBITT        paid, and caused to

be paid, herself and the KE employees from the NESBITT bank accounts with

proceeds obtained in part from NESBITT and the KE employees' acts of prostitution.

NESBITT also used, and caused to be used, proceeds of NESBITT's and the KE

employees'acts of prostitution to operate and maintain KE.




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       13. It     was further part of the conspiracy that NESBITT and the KE

employees concealed, misrepresented,         and hid, and caused to be       concealed,

misrepresented,.and hidden, the existence and purpose of the conspiracy and the acts

done in furtherance of the conspiracy.

                                      Overt Acts

       74. In furtherance of the conspiracy and to accomplish its unlawful
objectives, NESBITT committed, and caused to be committed, the following overt acts

in the Northern District of Illinois and elsewhere:

             a.     On or about September 5,20L4, NESBITT sent and caused to be

sent an email to KE clients that contained an invitation to a paid sex and fetish party

at KE called "Halloween Mischief."

             b.     On or about January 19,2015, NESBITT issued and caused to be

issued from a NESBITT bank account a check made out to Individual A in the amount

of $800.

             c.     On or about   April   17, 20L5, NESBITT sent and caused to be sent

an email to KE employees that contained information regarding the operations of KE.

             d.     On or about May 19, 2015, NESBITT sent and caused to be sent

an email to KE clients that contained an invitation to a paid sex and fetish party at

KE called the "Black Tie Bizarre."

             e.     On or about November 30, 2015, NESBITT sent and caused to be

sent an email to Client A that contained information regarding flights for Individual

F's travel from Chicago, Illinois to San Diego, California, for the purpose of engaging
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in acts of prostitution with Client A in California.

                f.    On or about February 22, 2016, NESBITT sent and caused to be

sent an email to Individual B and Ind.ividual D that contained information regarding

a meeting NESBITT scheduled to discuss         Individual B and Individual D's travel from

Chicago, Illinois    to Las Vegas, Nevada, for the purpose of engaging in acts of
prostitution with Client B in Nevada.

                g.    On or about   April   13, 2016, NESBITT instructed    Individual E to

have sexual intercourse with Client C whenever Client C paid for sexual intercourse.

                h.    On or about   April 27,2016, NESBITT      discussed   with Individual
F specific acts of prostitution requested by Client D.

                i.    On or about   April 28,2016, NESBITT instructed Individual       C to

deposit cash payments from clients into a NESBITT bank account              in amounts less
than $10,000.

                j.    On or about August 29, 2016, NESBITT issued and caused to be

issued from a NESBITT bank account a check made out to Individual C in the amount

of $2,026.89.

                k.    On or about December 26,2016, NESBITT issued and caused to

be issued from a NESBITT bank account a check made out to Individual A               in the
amount of $3,100.

      A11   in violation of Tit1e 18, United States Code, Section 871.




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                                      COUNT TWO

      The SPECIAL JULY 20LB GRAND JURY further charges:

      1.     Paragraph 1 of Count One of this indictment is incorporated here.

      2.     On or about Septembe      r 5, 2014, at Chicago, in the Northern District of
Illinois, Eastern Division, and elsewhere,

                               JESSICA NESBITT,
                      also known as "Madame Priscilla Belle,"

defendant herein, did use and cause the use of a facility       in interstate commerce,
namely, Company l's electronic payment network resulting in the processing of an

electronic payment of approximately $1,250, with intent to promote, manage,

establish, carry on, and facilitate the promotion, management, establishment and

carrying on of an unlawful activity, namely, a violation of 720 ILCS S 5/11-14

(prostitution) and 720 ILCS   S   5/11-14.3 (promoting prostitution), and thereafter, the

defendant did perform and attempt to perform an act to carry on and facilitate the

promotion and carrying on of said unlawful activity;

      In violation of Title 18, United States Code, Section 1952(a)(3).




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                                  COUNT THREE

      The SPECIAL JULY 2018 GRAND JURY further charges:

       1.    Paragraph 1 of Count One of this indictment is incorporated here.

      2.     On or about May 21, 20L5, at Chicago, in the Northern District of

Illinois, Eastern Division, and elsewhere,

                                JESSICA NESBITT
                       also known as "Madame P*ir"illu B"Il","

defendant herein, did use and cause the use of a facility      in interstate   commerce,

namely, Company 2's electronic payment network resulting in the processing of an

electronic payment of approximately $250, with intent to promote, manage, establish,

carry on, and facilitate the promotion, management, establishment and carrying on

of an unlawful activity, namely, a violation of 720ILCS   S   5/11-14 (prostitution) and

720 ILCS S 5/11-14.3 (promoting prostitution), and thereafber, the defendant did

perform and attempt to perform an act to carry on and facilitate the promotion and

carrying on of said unlawful activity;

      In violation of Title 18, United States Code, Section 1952(aX3).




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                                   COUNT FOUR

      The SPECIAL JULY 2018 GRAND JURY further charges:

      1.     Paragraph 1 of Count One of this indictment is incorporated here.

      2.     On or about June 4,2015, at Chicago, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                               JESSICA NESBITT,
                      also known as "Madame Priscilla Belle,"

defendant herein, did use and cause the use of a facility       in interstate commerce,
namely, Company 2's electronic payment network resulting in the electronic payment

of approximately $750, with intent to promote, manage, establish, carry on, and

facilitate the promotion, management, establishment and carrying on of an unlawful

activity, namely, a violation of 720ILCS   S   5/11-14 (prostitution) and 720ILCS   S   5/11-

14.3 (promoting prostitution), and thereafter, the defendant did perform and attempt

to perform an act to carry on and facilitate the promotion and carrying on of said

unlawful activity;

      In violation of Title 18, United States Code, Section 1952(aX3).




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                                   COUNT FIVE

      The SPECIAL JULY 2018 GRAND JURY further charges:

      1.     Paragraph 1 of Count One of this indictment is incorporated here.

      2.     On or about November 30, 2015, at Chicago, in the Northern District of

Illinois, Eastern Division, and elsewhere,

                               JESSICA NESBITT,
                      also known as "Madame Priscilla BeIIe,"

defendant herein, did use and cause the use of a facility   in interstate commerce,
namely, a Google Gmail account and associated communications network, with intent

to promote, manage, establish, carry on, and facilitate the promotion, management,

establishment and carrying on of an unlawful activity, namely, a violation of Cal.

Penal Code S 647(b) (soliciting and engaging in prostitution), and thereafter, the

defendant did perform and attempt to perform an act to carry on and facilitate the

promotion and carrying on of said unlawful activity;

      In violation of Title 18, United States Code, Sections 1952(a)(3) and2.




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                                    COUNT SD(

      The SPECIAL JULY 2018 GRA.ND JURY further charges:

      1.     Paragraph 1 of Count One of this indictment is incorporated here.

      2.     On or about February 22,   20116,    at Chicago, in the Northern District of

Illinois, Eastern Division, and elsewhere,

                               JESSICA NESBITT,
                      also known as "Madame Priscilla Belle,"

defendant herein, did use and cause the use of a facility       in interstate commerce,
namely, a Google Gmail account and associated communications network, with intent

to promote, manage, establish, carry on, and facilitate the promotion, management,

establishment and carrying on of an unlawful activity, namely, a violation of N.R.S.

20I.354 (engaging in prostitution and solicitation for prostitution), and thereafber,

the defendant did perform and attempt to perform an act to carry on and facilitate

the promotion and carrying on of said unlawful activity;

      In violation of Title 18, United States Code, Section 1952(a)(3).




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                                     COUNT SEVEN

       The SPECIAL JULY 2018 GRAND JURY further charges:

       1.       Paragraph 1 of Count One of this indictment is incorporated here.

       2.       On or about April 13, 2016, at Chicago, in the Northern District of

Illinois, Eastern Division, and elsewhere,

                                   JESSICA NESBITT,
                         also known as "Madame Priscilla Belle,"

defendant herein, did use a facility     in interstate   commerce, namely, the cellular

telephone assigned telephone number (312) XXX-6110, with intent to promote,

manage, establish, carry oD, and facilitate              the   promotion, management,

establishment and carrying on of an unlawful activity, namely, a violation of.720

ILCS   S   5/11-14 (prostitution) and 720 ILCS S 5/11-14.3 (promoting prostitution), and

thereafter, the defendant did perform and attempt to perform an act to carry on and

facilitate the promotion and carrying on of said unlawful activity;

       In violation of Title 18, United States Code, Section 1952(a)(3).




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                                    COUNT EIGHT

       The SPECIAL JULY 2018 GRAND JURY further charges:

       1.       Paragraph 1 of Count One of this indictment is incorporated here.

       2.       On or about April 21, 2016, at Chicago, in the Northern District of

Illinois, Eastern Division, and elsewhere,

                                  JESSICA NESBITT,
                         also known as "Madame Priscilla Belle,

defendant herein, did use a facility     in interstate      commerce, namely, the cellular

telephone assigned telephone number (312) XXX-6110, with intent to promote,

manage, establish, carry         or, and facilitate the           promotion, management,

establishment and carrying on of an unlawful activity, namely, a violation of 720

ILCS   S   5/11-14 (prostitution) and 720 ILCS    S   5/11-14.3 (promoting prostitution), and

thereafter, the defendant did perform and attempt to perform an act to carry on and

facilitate the promotion and carrying on of said unlawful activity;

       In violation of Title 18, United States Code, Section 1952(a)(3).,




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                                   COUNT NINE

      The SPECIAL JULY 2Ol8 GRAND JURY further charges:

      1.     Paragraph 1 of Count One of this indictment is incorporated here.

      2.     On or about January 24, 20t6, at Chicago, in the Northern District of

Illinois, Eastern Division, and elsewhere,

                               JESSICA NESBITT,
                      also known as "Madame Priscilla Belle,"

defendant herein, did knowingly persuade, induce, and entice an individual, namely,

Individual F, to travel in interstate commerce from the State of Illinois to the State

of California, to engage in prostitution, and in any sexual activity for which any
person can be charged with a criminal offense, and did attempt to do so;

      In violation of Title 18, United States Code, Section   2422(a).




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                                    COUNT TEN

      The SPECIAL JULY 2018 GRAND JURY further charges:

       1.    Paragraph 1 of Count One of this indictment is incorporated here.

      2.     On or about March 2, 2016, at Chicago, in the Northern District of

Illinois, Eastern Division, and elsewhere,

                                 JESSICA NESBITT,
                       also known as "Madame Priscilla BeIIe,"

defendant herein, did knowingly transport an individual, namely, Individual A and

Individual D, in interstate commerce, from the State of Illinois to the State of Nevada,

with intent that such individual engage in prostitution, and in any sexual activity for

which any person can be charged with a criminal offense, and did attempt to do     so;

      In violation of Title 18, United States     Cod.e, Section 2421(a).




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                                 COUNT ELEVEN

      The SPECIAL JULY 2018 GRAND JURY further charges:

      1.     Paragraphs 1(i) and 1(k)      of Count One of this indictment         are

incorporated here.

      2.     Beginning on or about January 7, 2014, and continuing through on or

about December 19, 20L4, at Chicago, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                               JESSICA NESBITT
                      also known as "Madame Prisci.Ilu. B"lI","

defendant herein, knowingly and       for the purpose of evading the        reporting

requirements of Title 31, United States Code, Section 5313(a) and regulations

prescribed thereunder, structured and assisted in structuring transactions at Fifth

Third Bank by depositing and causing the deposit of at least approximately $349,000

in United States currency in separate transactions on at least 44 occasions, each in

an amount under $10,000, and did so as part of a pattern of illegal activity involving

more than $100,000 in a twelve-month period;

      In violation of Title 31, United States Code, Section fi2a@)@) and (d)(2).




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                                 COUNT TWELVE

      The SPECIAL JULY 2018 GRAND JURY further charges:

      1.     Paragraphs 1(i) and 1(k)      of Count One of this indictment         are

incorporated here.

      2.     Beginning on or about January 6, 2015, and continuing through on or

about December 29, 2015, at Chicago, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                                JESSICA NESBITT,
                      also known as "Madame Priscilla Belle,"

defendant herein, knowingly and       for the purpose of evading the        reporting

requirements of Title 31, United States Code, Section 5313(a) and regulations

prescribed thereunder, structured and assisted in structuring transactions at Fifth

Third Bank by depositing and causing the deposit of at least approximately $372,000

in United States currency in separate transactions on at least 41 occasions, each in

an amount under $10,000, and did so as part of a pattern of illegal activity involving

more than $100,000 in a twelve-month period;

      In violation of Title 31, United States Code, Section 5324(aX3) and (dX2).




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                                COUNT THIRTEEN

      The SPECIAL JULY 20L8 GRAND JURY further charges:

      1.     Paragraphs 1(i) and 1(k)      of Count One of this indictment           are

incorporated here.

      2.     Beginning on or about January 6, 20L6, and continuing through on or

about December 2, 2016, at Chicago, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                               JESSICA NESBITT,
                      also known as "Madame Priscilla Belle,"

defendant herein, knowingly and       for the purpose of evading the         reporting

requirements of Tit1e 31, United States Code, Section 5313(a) and regulations

prescribed thereund.er, structured and assisted in structuring transactions at Fifth

Third Bank by depositing and causing the deposit of at least approximately $559,000

in United States currency in separate transactions on at least 61 occasions, each in

an amount under $10,000, and did so as part of a pattern of illegal activity involving

more than $100,000 in a twelve-month period;

      In violation of Title 31, United States Code, Section 5324(a)(3) and (d)(2).




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                             FORFEITURE ALLEGATION
         The SPECIAL JULY 2Ol8 GRAND JURY alleges:

         1.    Upon conviction of an offense in violation of Title 18, United States Code,

Sections 371, 1952, 242L, an.d 2422, as set forth         in this indictment,   defendant

JESSICA NESBITT shall forfeit to the United States of America any property that

constitutes and is derived from proceeds traceable to the offense, as provided in Title

18,   United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section

2a6L@).

         2.    The property to be forfeited includes, but is not limited to:

               a.      a personal money judgment; and

               b.      the following specific property:

                     i.      approximately $8,958.94 seized by law enforcement from

Fifth Third Bank account no. xx5326 on or about January l1.,2017;

                    ii.      approximately $34,489.70 seized by law enforcement from

Fifth Third Bank account no. xx4287 on or about January 1-l,2017;

                    iii.     approximately $35,067 seized by law enforcement from

Associated Bank account no. xx9327 on or about January 1-I,20L7;

                    iv.      approximately $102,505.69 seized by law enforcement from

Charles Schwab account no. xx1552 on or about January LI,2OL7;

                     v.      approximately $2,647.10 seized by law enforcement from

Associated Bank account no. xx1607 on or about January 17,20L7;

                    vi.      approximately $16,086 seized by law enforcement from

3911 N. Western Avenue, Chicago, Illinois on or about January l1.,2Ol7;


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                  vii.     approximately $547.56      in grft cards seized by law
enforcement from 3911 N. Western Avenue, Chicago, Illinois on or about January 11,

20L7;

                  viii.    approximately $1,385.81 seized by law enforcement from

2452 W. Augusta Boulevard, Chicago, Illinois on or about January tL,20L7; and

             c.       the real property commonly known as 2452 W. Augusta
Boulevard, Units 1,2, and 3, Chicago, Illinois, legally described as follows:

             UNIT NUMBERS 2452-I, 2452-2, AND 2452-3, IN THE
             2452 WEST AUGUSTA CONDOMINIUM                         AS
             DELINEATED ON         A SURVEY OF THE         FOLLOWING
             DESCRIBED PARCEL OF REAL ESTATE:

             LOT 47 IN BLOCK 2 IN CHARLES COUNSELMAN'S
             SUBDIVISION OF THE SOUTHEAST 1/A OF THE
             NORTHEAST % OF THE SOUTHEAST % OF SECTION
             1, TOWNSHIP 39 NORTH, RANGE 13, EAST OF THE
             THIRD PRINCIPAL MERIDIAN; WHICH SURVEY IS
             ATTACHED AS EXHIBIT ..A", TO THE DECI,ARATION
             OF CONDOMINIUM RECORDED AUGUST 1, 2OO7 AS
             DOCUMENT NUMBER O72I3O3I2O, AS AMENDED
             FROM TIME TO TIME, TOGETHER WITH ITS
             UNDI\TDED PERCENTAGE INTEREST IN THE
             COMMON ELEMENTS, IN COOK COUNTY, ILLINOIS,

             AND THE EXCLUSIVE RIGHTS TO USE OF PARKING
             SPACES P-L,P-2, AND -3, AND STORAGE SPACES S-1,
             S.2, AND S-3, AS LIMITED COMMON ELEMENTS, AS
             DELINEATED ON ATTACHED TO THE
             DECI,ARATION, AFORESAID, RECORDED                        AS
             DOCUMENT NUMBER           07 2I3O3T2O.

        3.   If any of the property described above, as a result of any act or omission

by a defendant: cannot be located upon the exercise of due diligence; has         been




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transferred or sold to, or deposited with, a third party; has been placed beyond the

jurisdiction of the Court; has been substantially diminished in value; or has been

commingled   with other property which cannot be divided without difficulty, the
United States of America shall be entitled to forfeiture of substitute property,   as

provided in Title 21, United States Code, Section 853(p).



                                                    A TRUE BILL:




                                                    FOREPERSON


UNITED STATES ATTORNEY




                                         23
